           Case 2:24-cr-00091-ODW          Document 185 Filed 11/20/24            Page 1 of 1 Page ID
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                                     UNITED STATES DISTRICT COURT
                                    CENTRAL DISTRICT OF CALIFORNIA
United States of America                                    CASE NUMBER:

                                                                              2:24-cr-00091-ODW
                                             PLAINTIFF(S)
                             v.
Alexander Smirnov                                                    NOTICE OF MANUAL FILING
                                                                           OR LODGING
                                           DEFENDANT(S).

PLEASE TAKE NOTICE:
        Pursuant to Local Rule 5-4.2, the following document(s) or item(s) are exempt from electronic filing,
and will therefore be manually ✔ Filed           Lodged : (List Documents)
Letter to the Hon. Otis D. Wright II, along with the following supplemental exhibits to the Government's
classified notice and motion pursuant to CIPA Sections 5(a), 6(a), and 6(b):
(1) a declaration of the Assistant Attorney General for the National Security Division in support of in camera
CIPA Section 6 proceedings; and
(2) a proposed order on the Government's notice and motion pursuant to CIPA Sections 5(a), 6(a), and 6(b).




Reason:
 ✔        Under Seal
 ✔        In Camera
          Items not conducive to e-filing (i.e., videotapes, CDROM, large graphic charts)
        Per Court order dated:
✔       Other:
The above-described letter and supplemental exhibits have been filed electronically with the court-appointed
Classified Information Security Officer, W. Scooter Slade.




November 20, 2024                                             Christopher M. Rigali
Date                                                          Attorney Name
                                                              United States of America
                                                              Party Represented


Note: File one Notice of Manual Filing or Lodging in each case, each time you manually submit a document(s).
G-92 (05/15)                             NOTICE OF MANUAL FILING OR LODGING
